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                               Judgment in a Criminal Case    Document 188 Filed 07/08/22 Page 3 of 9
                      Sheet 2 — Imprisonment                                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page         3     of         8
DEFENDANT: LESEAN ROGER DENNIS BRADDOCK JR.
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                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
Counts 1, 2, 4, & 6: 57 Months, per count, concurrent to one another. Counts 3, 5, 7; 84 Months, per count, to run
consecutive to one another and consecutive to Counts 1, 2, 4 and 6. Total sentence of 309 Months.




G      The court makes the following recommendations to the Bureau of Prisons:




✔
G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                G     a.m.      G    p.m.      on                                       .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                               RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                           DEPUTY UNITED STATES MARSHAL
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                       Sheet 3 — Supervised Release                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page     4       of         8
DEFENDANT: LESEAN ROGER DENNIS BRADDOCK JR.
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                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 Counts 1, 2, 4 & 6: 3 Years, per count, to run concurrent. Counts 3, 5 & 7: 5 Years, per count, to run
 concurrent and concurrent with all other counts.




                                                 MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court QRW WR H[FHHG  WHVWV DQQXDOO\.
         G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check if applicable)
4.   ✔
     G   You   must  make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.   ✔
     G   You   must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   G   You   must  comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   G   You   must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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                      Sheet 3A — Supervised Release
                                                                                                       Judgment—Page       5     of       8
DEFENDANT: LESEAN ROGER DENNIS BRADDOCK JR.
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                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
    You must answer truthfully the questions asked by your probation officer.
    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
   If WKH SUREDWLRQ RIILFHU GHWHUPLQHV WKDW \RX SRVH D ULVN WR DQRWKHU SHUVRQ LQFOXGLQJ DQ RUJDQL]DWLRQ  WKH SUREDWLRQ RIILFHU PD\
      UHTXLUH \RX WR QRWLI\ WKH SHUVRQ DERXW WKH VSHFLILF ULVNV SRVHG E\ \RXU FULPLQDO UHFRUG DQG \RX PXVW FRPSO\ ZLWK WKDW LQVWUXFWLRQ
      7KH SUREDWLRQ RIILFHU PD\ FRQWDFW WKH SHUVRQ DQG FRQILUP WKDW \RX KDYH QRWLILHG WKH SHUVRQ DERXW WKH VSHFLILF ULVNV SRVHG E\ \RXU
      FULPLQDO UHFRUG
   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
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                      Sheet 5 — Criminal Monetary Penalties                                               (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page        7    of          8
DEFENDANT: LESEAN ROGER DENNIS BRADDOCK JR.
CASE NUMBER: 2:19-cr-00269-JCM-EJY-1
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment               5HVWLWXWLRQ              )LQH                   AVAA Assessment*             JVTA AssessPHQW
TOTALS            $ 700.00                $ 2,408.00                 WAIVED             $                            $
                                                                                             N/A                              N/A

G The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss***                    Restitution Ordered                    Priority or Percentage
 (See Attached Restitution list)




TOTALS                               $                        0.00        $                        0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for             G fine     G restitution.
     G the interest requirement for the           G fine      G restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                     Sheet 6 — Schedule of Payments                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page      8      of         8
DEFENDANT: LESEAN ROGER DENNIS BRADDOCK JR.
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                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                 3,108.00           due immediately, balance due

          G not later than                                     , or
          ✔ in accordance with G C,
          G                                    G D,      G     E, or    ✔ F below; or
                                                                        G
B    G Payment to begin immediately (may be combined with              G C,       G D, or G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
           Any unpaid balance shall be paid at a monthly rate of not less than 10% of any income earned during incarceration
           and/or gross income while on supervision, subject to adjustment by the Court based upon ability to pay.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




✔ Joint and Several
G
     Case Number
     Defendant and Co-Defendant Names                                              Joint and Several                Corresponding Payee,
     (including defendant number)                    Total Amount                       Amount                          if appropriate.
     Byron Joshua Jarell Porter
     2:19-cr-00269-JCM-EJY-2                         $2,408.00                      $2,408.00



G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
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                                  Restitution List
                           (Joint and Several Liability)


Circle K                                                   $ 79.00
1777 E. Warm Springs Rd.
Las Vegas, Nevada 89119

Gamestop                                                   $ 2,329.00
2631 Windmill Parkway
Henderson, Nevada 89074



TOTAL RESTITUTION:                                         $ 2,408.00
